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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

JOHN DOE,                                )      Civil Action
                                         )
                      Plaintiff,         )      Case No. 3:17-cv-00364-JBA
                                         )
v.                                       )
                                         )
QUINNIPIAC UNIVERSITY, TERRI             )
JOHNSON, SEANN KALAGHER,                 )
AND VINCENT CONTRUCCI,                   )
                                         )
                      Defendants.        )      October 24, 2019

                     MOTION FOR EXTENSION OF TIME TO FILE
                STIPULATION OF DISMISSAL OR MOTION TO REOPEN

       Pursuant to Local Rule 7(b)2, Plaintiff John Doe respectfully moves for a 30-day

extension of time, through and including November 26, 2019, within which to file a

stipulation of dismissal or a motion to reopen the case. In support of his Motion,

Plaintiff states as follows:

       1.     On September 17, 2019, Magistrate Judge Spector conducted a

settlement conference, as a result of which the parties agreed to material terms of

settlement.

       2.     Since September 17, 2019, the parties have been working on the terms of

a written settlement agreement, and participated in telephonic status conferences with

Magistrate Judge Spector regarding those efforts on September 24, and October 2, 15

and 21, 2019.

       3.     On September 25, 2019, the Court entered an Order of Dismissal on

Report of Settlement (Doc. 177) setting a deadline of October 24, 2019 for the filing of a

stipulation of dismissal or a motion to reopen the case.
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        4.    As set forth above, the parties, through and with their counsel, have been

engaging in ongoing efforts and communications to reduce the settlement agreement to

writing and agree to written terms of settlement. Despite diligent efforts, the parties

have not yet been able to finalize written terms of settlement and request an additional

30 days to do so.

        5.    Defendants’ counsel, Lynn McCormick, Esq., has authorized the

undersigned to represent to the Court that the Defendants join in this motion.

        6.    This motion is made in good faith and, in accordance with Fed.R.Civ.P.

11, is not brought for purposes of harassment or delay. The Plaintiff submits that the

granting of this motion will serve the interests of justice and will prejudice neither the

parties nor the Court.

        7.    This is the Plaintiff’s first motion for an extension of the deadline to file a

stipulation of dismissal or motion to reopen this case.

        WHEREFORE, Plaintiff John Doe respectfully requests that this Court enter an

Order granting the parties an extension of time through and including November 26,

2019 within which to file a Stipulation of Dismissal and/or to file a motion to reopen the

case.




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                            PLAINTIFF
                            JOHN DOE

                            By:   /s/ Douglas J. Varga

                                  Douglas J. Varga (ct18885)
                                  Lucas & Varga LLC
                                  2425 Post Road, Suite 200
                                  Southport, CT 06890
                                  Phone: (203) 227-8400
                                  Fax: (203) 227-8402
                                  dvarga@lucasvargalaw.com

                                  Felice M. Duffy (ct21379)
                                  Duffy Law, LLC
                                  129 Church Street, Suite 310
                                  New Haven, CT 06510
                                  Phone: (203) 946-2000
                                  Fax: (203) 907-1383
                                  felice@duffylawct.com

                            His Attorneys




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                                       CERTIFICATION

       I hereby certify that on October 24, 2019, a copy of the foregoing Motion for

Extension of Time to File Stipulation of Dismissal or Motion to Reopen was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be sent by e-mail to all parties by operation of the court’s electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the Notice

of Electronic Filing. Parties may access this filing through the court’s CM/ECF System.




                                                    By:     /s/ Douglas J. Varga
                                                            Douglas J. Varga




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